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18                              UNITED STATES DISTRICT COURT
19                           NORTHERN DISTRICT OF CALIFORNIA
20                                      OAKLAND DIVISION
21
     EPIC GAMES, INC.,
22                                                     No. 4:20-CV-05640-YGR-TSH
                      Plaintiff, Counter-defendant,
23                                                     EPIC GAMES, INC.’S STATEMENT OF
                                                       OBJECTIONS TO APPLE EXPERT’S
24                        vs.                          WRITTEN DIRECT TESTIMONY
25                                                     Hon. Yvonne Gonzalez Rogers
     APPLE INC.,
26
                      Defendant, Counterclaimant.
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                      EPIC GAMES, INC.’S STATEMENT OF OBJECTIONS TO
                        APPLE EXPERT’S WRITTEN DIRECT TESTIMONY
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 1                  Pursuant to the parties’ joint stipulation filed on April 27, 2021 (ECF No. 510),

 2   Epic Games, Inc. (“Epic”) submits the bases for its objections to Apple expert’s written direct

 3   testimony.

 4   DR. RUBIN’S OPINIONS ARE OUTSIDE THE SCOPE OF HIS EXPERTISE.1

 5                  Epic objects to ¶¶ 7, 82 and 84 of Dr. Rubin’s written direct on the basis that they

 6   contain opinions outside the scope of his expertise. Dr. Rubin is an expert in the field of computer

 7   science. (See Rubin Written Direct Testimony ¶¶ 12-13.) He holds a Ph.D. in Computer Science

 8   & Engineering, and he has testified that the expertise he offers in this case is in computer science.

 9   (Rubin Dep. Tr. at 11:4-8;35:15-20). In the challenged paragraphs, however, Dr. Rubin offers

10   opinions concerning the “incentives” of third parties to “duplicate Apple’s App Review efforts” or

11   to meet the standards of App Review. (Rubin Written Direct ¶ 7, 82, 84) (ECF No. 490-6).

12   Dr. Rubin further discusses third-party stores’ “financial model[s]”, the extent of their “resources”

13   and their reliance on advertising revenues. (Id. ¶ 7, 84.) These opinions relate to economics and

14   marketing, which are outside Dr. Rubin’s expertise.

15                  “An expert must be qualified by virtue of his or her ‘knowledge, skill, experience,

16   training, or education.’” Rambus Inc. v. Hynix Semiconductor, Inc., 254 F.R.D. 597, 600 (N.D.

17   Cal. 2008) (citing Rule 702 of the Federal Rules of Evidence). Dr. Rubin does not have the

18   experience, training or education to offer an opinion on economics or marketing, and at his

19   deposition he disclaimed the intent to offer an opinion on those topics. (Rubin Dep. Tr. at 35:21-

20   36:17). Accordingly, Dr. Rubin’s opinions relating to third parties’ incentives to implement

21   particular app review processes, as well as their resources and financial models, should be

22   excluded as beyond the scope of his expertise. See, e.g., Rambus, 254 F.R.D. at 604 (finding that

23   an expert in the field of electrical engineering and semiconductor design “lacks the expertise

24   needed to testify about the commercial aspects of this inquiry” and specifically “lacks the

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          Epic is withdrawing its objections to the written direct testimony of Professor Hitt, and
27   agrees that his written direct testimony may be admitted pursuant to paragraph (1) of the Parties
     Stipulation and [Proposed] Order Regarding Expert Direct Testimony (ECF No. 510).
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                        EPIC GAMES, INC.’S STATEMENT OF OBJECTIONS TO
                          APPLE EXPERT’S WRITTEN DIRECT TESTIMONY
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 1   expertise to explain whether or not advertising, standardization, import laws, contractual

 2   relationships, or any of a number of other factors influenced the commercial success” of the

 3   defendants’ products); see also Apple Inc. v. Samsung Elecs. Co., 2018, WL 1586276, at *3, *14

 4   (N.D. Cal. Apr. 2, 2018) (finding that Apple’s expert, an industrial designer, did “not establish[]

 5   that his expertise includes experience with marketing and advertising” and therefore limiting those

 6   improper opinions).

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